               Case 3:08-cr-00082-HDM-CLB               Document 132       Filed 04/30/10        Page 1 of 5

AO 2458 (Rev 09/08)JudgmentinaCriminalCase
         Sheetl

                                         U NITED STATES DISTRICT CO URT
                                               D ISTR ICT OF N EV A DA

UN ITED STATES OF AM ERICA                   JU DG M EN T IN A C RIM IN A L CA NE
            VS.
SAM UEL A.HOUSTON                            CASE NUM BER:       3:08-cr-82-LRH(VPC)
                                             USM NUM BER:        43165-048

                                             ScottEdw ards
THE DEFENDANT:                               DEFENDANT'S AW ORNEY

(V) pledguiltyto Count3oftheSecond Sunersedinzlnformation filedon M av 11.2009
( ) pled nchlocontendereto countts)                            whichwasacceptedby thecourt.
( ) wasfoundguilt' yoncountts)                                  afterapleaofnotguilty.
Thedefendantisadjudicatedguilty oftheseoffensets);
                                                                                Date
Title & Section                   Nature ofO ffense                             OffenseEnded                   Count

21U.S.C.841(a)(I)and              Distribution ofand Possession w ith Intent    December28,2007
  84l(b)(l)                       to Distributea Controlled Substance
18 U .S.C .2                      Aiding and Abetting




         Thedefendantissenteneedasprovidedinpages2through 5 ofthisjudgment.Thesentenceisimposedpursuant
to the Sentencing Reform Actor 1984.

( ) Thedefendanthasbeen found notguiltyoncountts)
(e) Allremaininz countsasto thisdefendantaredism issed on them otion ofthe United States.
      IT IS ORDERED thatthe defendantm ustnotif,ythe United StatesAttorney forthisdistrictwithin 30 daysofany
changeofname,residence,orm ailing address untilal1fines,restitution,costs,and specialassessm entsimposed by this
judgmentarefullypaid. lforderedtopayrestitution,thedefendantmustnotifythecourtandUnitedStatesattorneyof
materialchanges in econom iccircum stances.

                                                                  APRIL 28,20t0             ..
                                                                  Dateoflm position ofJudgment




                                                                  Sig tureofJudge

                                                                  LARRY R.HICK S
                                                                  U.S.DISTRICT JUDG E
                                                                  Name and Title ofJudge

                                                                       #/;e/?o
                                                                    Date
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AO 2,
    158 (Rev.09/08)JudgmentinaCrimi
                                  nalCase
         Shect2-Imprisonment
DEFENDANT:               SAM UEL A .HOUSTON                                                   Judgm ent-Page 2
CASENUM BER:             3:08-cr-82-LRH(VPC)
                                               IM PR ISO NM ENT

        Thedefendantishereby com m itted to thecustody oftheUnited StatesBureauofPrisonsto be imprisoned foratotal
term of: SIX TY-TH REE (63)M O NTH S




(X) Thecourtmakesthefollowingrecommendationsto theBureauofPrisons:
                Thatthedefendantbe placed in a ResidentialDrugProgram .
                Firstchoice designation: FCI M cKean in Pennsylvania
                Second choice designation: FClGreenville in lllinois




(X)     Thedefendantisremandedtothecustody oftheUnited StatesM arshal.
        Thedefendantshallsurrenderto the United StatesM arshalforthisdistrict:
        ()      at               a.m./p.m.on
        ()      asnotified bytheUnitedStatesMarshal.
        Thedefendantshallsurrenderforservice ofsentence atthe institution designated by the Bureau ofPrisons:
        ()      before2p.m.on
        ()      asnotified bytheUnited StatesMarshal.
        ()      asnotified bytheProbationofPretrialServicesOffice.
                                                   RET URN

Ihaveexecutedthisjudgmentasfollows:




        Defendantdelivered on                               to
at                                                                        ,withacertitiedcopyofthisjudgment.

                                                             UN ITED STATES M ARSHAL

                                                             BY :
                                                                     Deputy United StatesM arshal
               Case 3:08-cr-00082-HDM-CLB                  Document 132            Filed 04/30/10          Page 3 of 5
           e
AO 2/58 (Rev09/08)JudgmentlnaCrim inalCase
         Sheet3-SupcrvlsedRelease
DEFENDANT:                SAM UEL A .HOUSTON                                                                   Judgment-Page 3         -

CASE NUMBER:              3:08-cr-82-LRH(VPC)
                                                  SU PERVISED RELE ASE

        Upon release from im prisonm ent,the defendantshallbe on supervised release fora tenm ofFOUR (4àYEARS.

        The defendantmustreportto theprobation office inthe districtto which the defendantisreleased within 72 hours
ofrelease from the custody oftheBureau ofPrisons.

The defendantshallnotcomm itanotherfederal,state,orIocalcrime.

Thedefendantshallnotunlaw fully possessacontrolled substance.The defendantshallrefrain from any unlawfuluse ofa
oontrolled substanoe.Thedefendantshallsubmitto onedrug testwithin l5daysofreleasefrom im prisonm entand atleast
two periodicdrug teststhereafter,notto exceed 104 drug testsannually. Revocation ismandatory forrefusalto comply.

        Theabovedrug testing condition issuspended,basedonthecourt'sdeterminationthatthedefendantposesa Iow risk
    offuturesubstanceabuse.(Check,ifapplicable.)
(Z) Thedefendantshallnotpossessafirearm,ammunition,destructivedevice,oranyotherdangerousweapon.(Check,
    ifapplicable.)
(/) ThedefendantshallcooperateinthecollectionofDNA asdirectedbytheprobationoffice.(Check,ifapplicable.)
( ) ThedefendantshallcomplywiththerequirementsoftheSexOffenderRegistrationandNotiticationAct(42U.S.C.
    j 1690l,etseq.)Asdirected by theprobationofficestheBureauofPrisons,oranystatesex offenderregistration
    agency in which he orshe resides.,works,isa student,orwas convicted ofa qualifying offense. (Check,if
    applicable.)
    Thedefendantshallparticipateinanapprovedprogram fordomesticviolence.(Check,ifapplicable.)
       Ifthisjudgmentimposesa fineora restitution,itisa condition ofsupervised release thatthe defendantpay in
accordancewiththeScheduleofPaymentssheetofthisjudgment.
        The defendantmustcomply w ith the standard conditionsthathavebeen adopted by thiscourtaswellaswith any
additionalconditionson the attached page.

                                      STANDA RD CO NDITIONS O F SUPERVISIO N

        thedefendantshallnotleavethejudicialdistrictwithoutthcpermission ofthecourtorprobationomce'
        thedefendantshallreporttotheprobationofticeand shallsubmitatruthfulandcomplctewri     ttcnreportwithinthefirstfivedaysofeachmonth'
        thedefendantshallanswertruthfully'a1Iinquiriesby theprobation officeand follow the instructionsofthe probation ofrice'
        thedefendantshallsupporthisorherdependantsand meetotherfamil      y responsibilities'
        the det
              kndantshallwork regularly ata lawfuloccupationunlcssexcused by theprobationoffice forschooling training,orotheracceptable
        reasons;
        the defendantshallnotify theprobation ofliceatIeasttendayspriorto any changein residenceorem ploymcnt;
        thedefendantshallrefrain from excessiveuseofalcoholandshallnotpurcbasc possess,use,distributeoradministeranycontrolledsubstance
        oranyparaphernalia related to any controlled substanccs exceptasprcscribcd by aphysician',
8)      the defendantshallnotfrequentplaceswhere controllcdsubstancesareillegally sold,used.distributed oradministered'
9)      the defendantshallnotassociatewith aay personsengagcd in criminalactivity,and shallnotassociatcwithanypcrson convictedofafelony,
        unlcssgrantcd permission to do so bytheprobation office;
        thedefendantShallpermitaprobation officetovisithim orheratanytimeathomeorclsewhereandshallpermitcontiscationofany contraband
        observed inplain view ol'theprobation ofrice'
        the defendantshallnotify theprobation oflicc within scvcnty-two hoursofbeing arrested orquestioned by alaw enforccmentoffice'
        the defendantshallnotenterinto any agreementto actasan infbrmeroraspecialagentofalaw enforcementagency withoutthepennission
        ofthccourt;and
        asdirectedbytheprobationot'
                                  tice thcdefkndantshallnotit
                                                            à'thirdpartiesofrisksthatmaybeoccasionedbythcdefendant'scriminalrecord
        orpersonalhistory orcharacteristics andshallpermittheprobationofficet()makesuchnotificationsandtocontqrm thedcfendant'scompliance
        with such notification requirement.
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AO 2158 (Rev.09/03)Jtld!mentinaCriminalCase
         Sheet3-Supervlsed Release
DEFEN DANT:               SAM UEL A.HO USTON                                                    Judgm ent-Page 4      -

CASE NUMBER:              3:08-cr-82-LIU1(VPC)
                                      SPECIAL CO NDITIO NS OF SUPERVISION


        Possession ofW eapon -The defendantshallnotpossess,have under his control or have access to any firearm
        explosive device,orotherdangerousweapons,asdefined by federal,state orlocallaw.

2.      W arrantlessSearch -Thedefendantshallsubm ithisperson,property,residence,placeofbusinessand vehicleunder
        hiscontroltoasearch,conducted bythe United Statesprobation officeorany authorized personundertheimm ediate
        and personalsupervision ofthe probation office at a reasonable time and in a reasonable m anner based upon
        reasonable suspicion ofcontraband orevidence ofa violation ofacondition ofsupervision. Failureto subm itto a
        search m ay be grounds forrevocation. The defendant shallinform any other residentsthatthe prem isesm ay be
        subjecttoasearchpursuanttothiscondition.
        Substance Abuse Treatm ent - The defendant shall participate in and successfully complete a substance abuse
        treatment and/or cognitive based life skills program ,which w ill include drug/alcohol testing and outpatient
        counseling,as approved and directed by the probation oftice. The defendant shallrefrain from the use and
        possession ofbeer wine Iiquorand otherfon'nsofintoxicants while participating in substance abuse treatment.
        Further the defendantmay be required to contribtlteto the costsofservicesforsuch treatm entsasapproved and
        directed by the probation office,based upon hisability to pay.

4.      A lcoholAbstinence -Defendantshallrefrain from the use and possession ofbeer,wine,liquorand otherform sof
        intoxicants.

5.      M entalHea1th Treatment-The defendant may be required to participate in and successfully complete a mental
        healthtreatmentprogram ,w hich may includetesting,evaluation,and outpatientcounselingasapprovedanddirected
        by the probation oftice. The defendant shallrefrain from the use and possession ofbeer,w ine,Iiquorand other
        formsofintoxicantsw hile participating in mentalhealth treatm ent. Ful-ther,the defendantmay be required to
        contributeto the costsofservicesforsuch treatm ent,asapproved and directed by theprobation office,based upon
        hisability to pay.

        Gam blin: Prohibition -The defendantshallnotenter,frequent,orbe involved with any Iegalorillegalgambling
        establishmentoractivity,exceptforthe purpose ofemployment,asapproved and directed by the probation office.

        Life Skills-Thedefendantmay bereqtlired to participate in and successfully com pleteacognitive based life skills
        program ,asapproved and directed by the probation office.

8.      OffenderEm plovm entDevelopm entTraininM -The defendantmay be required to participate in and successfully
        com plete an offenderemploymentdevelopmentprogram asapproved and directed by the probation office.

9.      Reportto Probation OfficeA fterReleasefrom Custodv -Thedefendantshallreportin person totheprobationoffice
        in theD istrictto which the defendantisreleased within 72 hoursofrelease from custody.
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AO 2458 (Rev09/08)JudgmentinaCriminalCase
         Shect5-CriminalMonetary Penalties
DEFENDANT:                SAM UEL A.HOUSTON                                                        Judgment-Page 5
CASE NUM BER:             3:08-cr-82-LRH(VPC)
                                         C R IM IN A L M O N ETA RY PEN AL TIE S

        Thedefendantmustpay the totalcrim inalmonetary penaltiesunderthe schedule ofpaymentson Sheet6.

                                   Assessm ent                      Fine                         Restitution

        Totals'
              .                     $100.00                         W A IVED
                                    Due and payable im mediately.

()      Onmotionby theGovernment,IT ISORDERED thatthespecialassessmentimposed bytheCourtisremitted.
        Thedeterm ination ofrestitution isdeferred until                       . An A mended Judgm entin a Crim inalCase
        (AO 245C)willbeenteredaftersuch determination.
        Thedefendantshallmakerestitution(includingcommunityrestitution)tothefollowingpayeesintheamountlisted
        below .

        Ifthe defendantmakesa partialpayment,each payeeshallreceive an approxim ately proportioned paym ent,unless
        specitiedothenvise in thepriority orderorpercentagepaymentcolumnbelow.Howeverspursuantto 18U.S.C.j
        3664(1),aIlnonfederalvictimsmustbepaidbeforetheUnitedStatesispaid.
Name ofPavee                                 TotalLoss              Restitution Ordered          Prioritv ofPercentaae

Clerk,U.S.DistrictCourt
Attn:FinancialOftice
CaseNo.
333 LasVegasBoulevard,South
LasVegas,NV 89l01

TOTALS                                       $                      $

Restitution amountordered pursuantto plea agreement: $

Thedefendantmustpay interestonrestitution and afineofmorethan $2,500,unlessthe restitution orfineispaid in full
beforethefifteenthdayafterthedateofjudgment,pursuantto 18U.S.C.j3612(9.AI1ofthepaymentoptionson Sheet6
maybesubjecttopenaltiesfordelinquencyanddefault,pursuantto18U.S.C.j36l2(g).
Thecourtdetermined thatthe defendantdoesnothavetheabilit.v to pay interestand itis ordered that:

        the interestrequirem entisw aived forthe: ( )t
                                                     ine ( )restitution.
        theinterestrequirementforthe: ( )fine ( )restitution ismodifiedasfollows:




*Findingsforthe totalamountof lossesare required underChapters 109A,1l0, l10A,and 113A ofTitle l8 foroffenses
comm itted on oraherSeptem berl3,l994 butbefore April23,1996.
